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CRIMINAL CASE INFORMATION SHEET 7:79 - Cr -14(9- |

Pittsburgh x Erie Johnstown

Related to No. Judge
(All criminal prosecutions arising out of the same criminal transaction or series of transactions are
deemed related).

CATEGORY: 1. —_ Narcotics and Other Controlled Substances
la. ___ Narcotics and Other Controlled Substances
(3 or more Defendants)
2. Fraud and Property Offenses
2a. ___ Fraud and Property Offenses

(3 or more Defendants)

3, xX Crimes of Violence

4. Sex Offenses

5. Firearms and Explosives

6. Immigration

7. All Others
Defendant’s name: BRIAN DIPIPPA
Is indictment waived: Yes xX No
Pretrial Diversion: Yes xX No
Juvenile proceeding: Yes X No

Defendant is: X Male Female

Superseding indictment or information Yes xX No

Previous case number:

If superseding, previous case was/will be:

Dismissed on defendant’s motion
Dismissed on government’s motion
After appellate action
Other (explain)

County in which first offense cited

occurred: ° ALLEGHENY

Previous proceedings before
Magistrate Judge:

Case No.:

PLEASE INCORPORATE MAGISTRATE CASE WITH CRIMINAL CASE
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Date arrested or date continuous U.S.

custody began:
Defendant: ____ is in custody _X_ is not in custody
Name of Institution:
Custody is on: ___ this charge ____ another charge
another conviction
____ State ___ Federal
Detainer filed: ___ yes __ no
Date detainer filed:
Total defendants: 2
Total counts: 3
Data below applies to defendant No.: 1.
Defendant’s name: Brian DiPippa °
SUMMARY OF COUNTS
COUNT U.S. CODE OFFENSE FELONY MISDEMEANOR
1 18 U.S.C. § 371 Conspiracy x
2 18 U.S.C. §§ 2 and 231(a)(3) Obstruction of Law Enforcement x
During Civil Disorder
3 18 U.S.C. § 844(h)(1) Use of Explosive to Commit x
Federal Felony

I certify that to the best of my knowledge the above entries are true and correct.

DATE: June 28, 2023 s/Shaun E. Sweeney
SHAUN E. SWEENEY
Assistant U.S. Attorney
PA ID No. 53568

